                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION
                                 _________________

UNITED STATES OF AMERICA,

             Plaintiff,                               Case No. 1:22-cr-022

v.                                                    Hon. Hala Y. Jarbou
                                                      United States District Judge
NATHON JAMES ZINK,

             Defendant.
                                   /


     DEFENDANT’S SENTENCING MEMORANDUM AND BRIEF IN SUPPORT
              OF DOWNWARD DEPARTURE OR VARIANCE

                                       Introduction

       Nathon James Zink will appear for sentencing before this Honorable Court on

June 21, 2022, at 10:00 a.m. Pursuant to a plea agreement filed on March 2, 2022, Mr.

Zink pleaded guilty to Count 1, Mailing a Threatening Communication, and Count 2,

Mailing a Threatening Communication to a Federal Employee. (ECF No. 16, Plea

Agreement, PageID.23-32.)

       A Presentence Investigation Report (PSR) has been prepared and disclosed to both

parties. (ECF No. 25, PSR, PageID.69-97.) The parties agree that Mr. Zink’s advisory

sentencing guideline range is 100-125 months, based on a total offense level of 24 and a

criminal history category of VI.

       Mr. Zink respectfully submits this sentencing memorandum in support of his

request for a sentence below the guideline range.
                       Nature and Circumstances of the Offense

      At the time of this offense, Mr. Zink was in the custody of the Michigan

Department of Corrections (MDOC), serving a 2009 sentence for an arson case. In that

case, when he was in his early 20s, he and a buddy were drinking together and went to

cause some mischief at a neighboring house. No one lived in the house, which was located

on a county road out in the country. They started a fire and took off. After a brief

investigation, Mr. Zink confessed and ultimately pleaded guilty. He was sentenced to 84

months to 20 years in prison, and he was ordered to pay over $80,000 in restitution.

      Interest accumulated on the restitution while Mr. Zink was serving his sentence,

raising it to over $102,000 by 2020. He worked in the kitchen at the MDOC, making about

$20 to $30 monthly, and here and there a friend would send him $20. After the restitution

was drawn from his account each month, he was left with only about $11. He received no

financial support from his family.

      Mr. Zink was unable to afford commissary items during his long custodial

sentence, so he hoped he could ask to defer payments on the restitution until he could

secure better paying employment. So, after researching the appropriate process for

making the request, he completed and filed the proper paperwork with the state court.

Namely, he politely requested, in writing, that the state court defer the costs and

restitution amount. However, the state judge summarily denied his request.

      When he was notified of the denial, Mr. Zink was frustrated. He had tried to do

things correctly, providing an explanation of his indigent status and asked to pay the

balance in the future when he was earning an income. He was so upset that he did not

know what to do, but he had to get his feelings out, so he wrote a letter venting his



                                           2
emotions. He knew he was facing many more years in custody, and he did not intend to

carry through with any threat. However, Mr. Zink did not think about the reaction that

his statements might create in other people who read the letter, and what the

consequences for him might be. A couple weeks later, when he felt another frustration,

he vented in the same way: by writing a frustrated letter to the federal court. In fact, Mr.

Zink had never had any contact with the federal court system, and again, it was

impossible for him to carry through with any threat.

       MDOC records show that in March 2020, months before the offense conduct in this

case, Mr. Zink had requested mental health help. He asked the providers appropriate

questions about “how he can do better.” In June 2020, Mr. Zink reviewed information

about the anger management program at the MDOC. He tried to start the program, but

he was waitlisted.

       At the time of the offense in fall 2020, Mr. Zink was housed alone in segregation,

where he was not permitted to have a television. During his time in segregation, he

explained to mental health services that he was having a hard time, explaining that he

was “just sitting in that cell staring at the bricks.” Despite MDOC’s classification of him

“mentally ill,” he only was given Trazadone, an anti-depressant medication. MDOC

records also show that if he was sleeping when they came to do rounds, he was not

administered the medication. This happened several times a week.

       Mr. Zink was indicted in the instant case on February 15, 2022. He then was

transferred from the MDOC to federal custody, where he has remained for the duration

of this case. He has not presented a management problem for authorities.




                                             3
                              History and Characteristics of Mr. Zink

       Mr. Zink is 35 years old. He was born and raised in rural southwest Michigan. He

does not know the identity of his biological father. His mother, Stella, explains that his

father was unwilling to acknowledge paternity, so he took his stepfather’s last name. Mr.

Zink has several maternal siblings. Each of them has a different biological father.

       In addition to his mother and stepfather, Mr. Zink’s grandparents helped raise

him. As a young boy, he was a good student, attaining A and B grades. Because he lived

out in the country, far from town, he was unable to participate in many after-school

activities. Instead, he spent his free time in the woods, hunting, fishing, and camping,

activities he still enjoys.

       Sadly, Mr. Zink was run over by a car when he was a boy, resulting in his

placement in a full body cast. Also, when he was about 10 years old, he sustained a severe

head injury that required stitches. As a young man, he tried marijuana and tried

methamphetamine a few times, but these substances did not correlate with him getting

into trouble. However, he recognizes that alcohol, which he first used when he was only

8 years old, has caused him problems.

       Since he was young, Mr. Zink has been diagnosed with several mental health

problems, including schizophrenia, depression, anxiety, and ADHD. He has a long history

of suicidal ideation---MDOC records show that after the offense in this case, he tried to

commit suicide several times, by ingesting razor blades, cutting himself, and overdosing

on medication. After his attempts to kill himself, Mr. Zink finally was administered the

Haldol injection. He later was prescribed Trazadone, Effexor, and Artane as well.




                                                4
       In early summer 2021, he told his counselor that he wanted to “get better,” but,

he despaired, “I need more hope.” He said to MDOC staff, “I get aggressive and mess my

life up,” and pleaded that “[I] want it to stop.” Mr. Zink finally made it off the waitlist for

anger management programming at the MDOC, but before he was able to get invested

in the program, he was brought into federal custody to address the instant charges.

             Need for Sentence Imposed and Motion for Downward Departure
                           for Mental and Emotional Condition

       Mr. Zink respectfully submits that U.S.S.G. § 5H1.3 (Mental and Emotional

Condition) is a ground for downward departure in this case. The Supreme Court

repeatedly has recognized the principle that a person’s mental “deficiencies do not

warrant an exemption from criminal sanctions, but diminish their personal

culpabilities.” Atkins v. Virginia, 536 U.S. 304, 318 (2002). See also California v. Brown,

479 U.S. 538, 545 (1987) (O’Connor, J. concurring) (majority opinion overruled on other

grounds by Atkins, supra, 536 U.S. 304) (“Where a defendant’s crime is attributable to …

emotional or mental health problems the defendant is less culpable than one without the

excuse.”).

       Here, Mr. Zink’s mental health diminishes his personal culpability. The record

shows he has been diagnosed with schizophrenia, anxiety, depression, and ADHD, and

has a history of suicide attempts. At the time of the offense, he was locked up in

segregation with no interaction with the outside world—he did not even have a television

to engage his mind. Before and after the offense, he requested help for his mental

problems. And most compellingly, he was not on the medication he is on now, which has

enabled him to manage his conditions. Mr. Zink was frustrated, isolated, and suffering

from mental illness. He did not intend to truly hurt anyone, and no one was (or could

                                              5
possibly have been) injured by the threats due to his incarceration. He had no way to go

visit the state court judge or obtain anthrax. The language in the letters was outlandish

and sprinkled with nonsense: for example, he signed the letter to the state court with a

smiley face and included the salutation “tata for now” to the federal court.

       The § 3553(a) factors require the Court to consider the “just punishment” for a

particular offense. 18 U.S.C. § 3553(a)(2)(A). And while punishment necessarily involves

the deliberate infliction of suffering on a person, the infliction of more suffering through

additional custodial time, especially on those who already suffer from mental illness,

runs counter to the foundational principles of federal sentencing. 18 U.S.C. § 3582(a), see

also Tapia v. United States, 564 U.S. 319 (2011). The grant of a downward departure

would result in a sentence that constitutes a just punishment by reflecting the

circumstances of the offense, taking into account his mental health status, and ensure he

is able to receive necessary treatment to assist in his rehabilitation.

       Mr. Zink is very remorseful for doing what he did. He believes that if he had

appropriate counseling and medication, he could manage his emotions better and “things

like this wouldn’t happen.” Indeed, his MDOC records show that he reached out to the

mental health professionals about the hard time he was having prior to the incidents.

The provision of appropriate pharmacological treatment may help Mr. Zink establish a

foundation upon which cognitive therapy can be built. But just as important is the

administration of therapy, and with the same counselor—studies show that the

relationship between a therapist and client is one of the most important factors in the

success of mental health treatment.1


1See Krupnick, et al, “The Role of the Therapeutic Alliance in Psychotherapy and Pharmacotherapy
Outcome: Findings in the National Institute of Mental Health Treatment of Depression

                                               6
          Unfortunately, in recent years, mental health treatment services for prisoners on

the lowest care level has been mostly limited to psychiatric medication, not therapy.2

Even the limited number of overburdened psychologists at the BOP often are asked to

engage in non-therapy related enforcement activities, like working gun towers and

prisoner escorts, rather than devoting their efforts and time to the provision of mental

health treatment.3

          A defendant is “entitled to the benefit of any ambiguity in the Guidelines as well

as a presumption that the Guideline more favorable to him operates in the absence of a

preponderance of proof supporting a more onerous Guideline.” United States v.

Vasquez, 791 F. Supp. 348, 351 (E.D.N.Y. 1992) (emphasis added). Here, the

circumstances show that due to his condition, he is “less culpable than one without the

excuse,” taking this case out of the heartland. See Brown, supra, 479 U.S. at 545

(O’Connor, J., concurring). A within-guideline sentence would be unduly harsh, relative

to other defendants who do not have such vulnerability. A downward departure is

warranted based on a balancing of the applicable factors and facts of the case.

            Alternative Motion for Downward Variance under 18 U.S.C. § 3553(a)

          If this Court declines to grant Mr. Zink’s request for a downward departure, he

respectfully requests a downward variance under 18 U.S.C. § 3553(a). The Supreme

Court in Koon v. United States, 518 U.S. 81 (1996), generally informs us that district



Collaborative Research Program,” The Journal of Clinical Psychology, June 1996,
https://pubmed.ncbi.nlm.nih.gov/8698947/.

2 See Thompson, et al, “Treatment Denied: The Mental Health Crisis in Federal Prisons,”
https://www.themarshallproject.org/2018/11/21/treatment-denied-the-mental-health-crisis-in-
federal-prisons.

3   Id.

                                                7
courts enjoy broad discretion in deciding whether to vary when the particular factors of

the case are outside the heartland of Guidelines cases. The Koon Court explained that in

order to resolve this question:

              . . . the district court must make a refined assessment of the many
              facts that bear on the outcome, informed by its vantage point and
              day-to-day sentencing experience. Whether a given factor is present
              to a degree not adequately considered by the Commission, or
              whether a discouraged factor nonetheless justifies departure
              because it is present in some unusual or exceptional way, are
              matters determined in large part by comparison with the facts of
              other Guidelines cases.

              Koon, supra, 518 U.S. at 82.

       In support of his request, Mr. Zink incorporates by reference the facts set forth in

the motion for downward departure. The circumstances of the offense, in particular, that

he was affirmatively seeking mental health help before and after this offense, and the

fact that he did not intend to, nor could he, carry through with any threat, distinguishes

this case from one where the offender is not in custody. His personal history of severe

mental health issues, exacerbated by inadequate treatment at MDOC and the strains of

solitary confinement on a person suffering from mental illness, are factors that are

present in an “unusual” way. The need to provide Mr. Zink with the necessary

correctional treatment in the most effective manner does not require a guidelines

sentence. He has been in continuous custody since 2009, and his current maximum

discharge date at MDOC is 2042. He is facing lengthy consecutive sentences, with an

upcoming sentencing on a state conviction and seven additional pending state cases. (See

ECF No. 20, paragraphs 57, 64, 65, 66, 67, 68, 69, 70.)

       Mr. Zink hopes that the mental health treatment provided at the BOP will be more

effective than which he previously received. He plans to take as much treatment and

                                             8
coursework as he can to help him manage his mental health, stay out of trouble, and

someday get home and secure employment again. He is an industrious person and a hard

worker; while in custody, he completed his GED, an accomplishment of which he is very

proud. He also has drywalling and welding skills and he is interested in additional

vocational training at the BOP.

                                      Conclusion

      For the foregoing reasons, Nathon James Zink respectfully requests that the Court

exercise leniency and levy a sentence below the guidelines range.


                                               Respectfully submitted,

                                               SHARON A. TUREK
                                               Federal Public Defender

Dated: June 14, 2022                           /s/ Joanna C. Kloet
                                               JOANNA C. KLOET
                                               Assistant Federal Public Defender
                                               50 Louis NW, Suite 300
                                               Grand Rapids, Michigan 49503
                                               (616) 742-7420




                                           9
